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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,             )
                                      )
               Plaintiff,             )       ORDER
                                      )
       vs.                            )
                                      )
Daniel Lusk,                          )       Case No. 1:20-cr-017
                                      )
               Defendant.             )


       Defendant has executed a plea agreement and pursuant to it entered on guilty plea on March

11, 20202, to the offense charged in Count Four of the Indictment: unlawful transport of wildlife in

foreign commerce in violation of 16 U.S.C. § 3372(a)(2)(A) and 3373(d)(2). His sentencing hearing

his scheduled for November 9, 2020, at 1:30 PM CST in Bismarck Courtroom #2.

       On October 22, 2020, defendant filed a motion seeking the court’s permission to appear for

his sentencing hearing via video from his home state of Virginia.

       There being no objection from the United States and in the interests of economy, efficiency,

and safety, the court GRANTS defendant’s motion (Doc. No. 50) Defendant shall appear via video

for his sentencing hearing on November 9, 2020, at 2:30 PM EST/1:30 PM CST from the Albert V.

Bryan United States Courthouse, 401 Courthouse Square, Alexandria, VA.

       IT IS SO ORDERED.

       Dated this 27th day of October, 2020.

                                                     /s/ Clare R. Hochhalter
                                                     Clare R. Hochhalter, Magistrate Judge
                                                     United States District Court
